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                 21
                                                  UNITED STATES BANKRUPTCY COURT
                 22
                                                      FOR THE DISTRICT OF NEVADA
                 23
                          In re:                                        Case No. BK-N-15-50541-BTB
                 24                                                     Chapter 11 Case
                          MATHESON FLIGHT EXTENDERS,
                 25       ~C ~                                          SECOND AMENDED CHAPTER 11 PLAN
                                   Debtor.                              OF REORGANIZATION
                 26

                 27                                                     Hearing Date: December 16. 2015
                                                                        Hearing Time: 2:00 p.m.
                 28
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                    ~           Debtor and Debtor-in-Possession Matheson Flight Extenders, Inc.("Debtor" or "MFEI")
                    2    and co-proponent Matheson Trucking, Inc. ("Trucking" and, along with the Debtor, the "Plan

                    3    Proponents") submit this Plan of Reorganization ("Plan") pursuant to Section 1121(a) of the

                    4    Bankruptcy Code for the resolution of the outstanding claims of the Creditors and Equity

                    5    Security Holders of the Debtor. All parties-in-interest should refer to the Disclosure Statement

                   6     for a discussion of the Debtor's and Trucking's history, assets, and for a summary and analysis

                    ~    of this Plan and certain related matters.

                    g           Subject to the restrictions on modifications set forth in Section 1127 of the Bankruptcy

                    g    Code and Bankruptcy Rule 3019, and those restrictions on modification set forth herein, the Plan

                  10     Proponents.expressly reserve the right to alter, amend, strike, withdraw or modify this Plan one

                  11     or more times before its substantial consummation.

                  12            1.      DEFINITIONS.RULES OF INTERPRETATION

                  13            1.1     Definitions.

                  14            For purposes of this Plan, except as expressly provided or unless the context otherwise

                  15     requires, all capitalized terms not otherwise defned shall have the meanings ascribed in this

                  16     section 1. Any term used in this Plan that is not defined herein, but is defined in the Bankruptcy

                  1~     Code or the Bankruptcy Rules, sha11 have the meaning ascribed to that term in the Bankruptcy

                  1g     Code ox the Bankruptcy Rules, in that order of priority. Whenever the context requires, such

                  19     terms shall include the plural as well as the singular, the masculine gender shall include the

                 20      feminine, and the feminine gender shall include the masculine. As used in this Plan, the

                  21     following terms shall have the meanings specified below.

                 22             A.      Administrative Clairn. A Claim for any cost or expense of administration of the

                 23      Chapter 11 Case allowed under Sections 507(b) ox S46(c)of the Bankruptcy Code and entitled to

                 2q.     priority under Section 507(a)(1) of the Bankruptcy Code, including, but nat limited to {i) fees

                 25      payable pursuant to Section 1930 of Title 28 of the United States Cade; (ii) the actual and

                 26      necessary costs and expenses incurred after the Petition Date of preserving the Estate, including

                 27      wages, salaries or commissions for services rendered after the commencement of the Chapter 11

                 2$      case; and {iii) all professional fees approved by the Bankruptcy Court pursuant to interim and
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                     1 I final allowances. To the extent that a Claim is allowed as an Administrative Claim pursuant to
                    2       Section 365(d)(3} of the Bankruptcy Code, such Claim shall also be deemed an Administrative

                     3      Claim under this paragraph,

                    4'             S.      Administrative Claim Bar Date.        Forty-five days after the Effective Date.

                    51             C.      Allowed Claim. Any claim, or any portion thereof, against Debtor (except for an

                    6'' Unclassified Claim): (i) as to which a proof of claim has been filed with the Court within the
                        time fixed by the Court or, if such claim arises from the Debtor's rejection of an unexpired lease
                    711
                    8 or other executory contract,' within thirty (34) days after the Effective Date of the Plan, or (ii)

                    91 which is scheduled as of the Confirmation Date of the Plan in the schedules filed by the Debtor
                   10 ~I or amended by the Debtor as of said date, and is liquidated in amount and undisputed; and in
                            either of the above events, as to which no objection to allowance of such claim or request for

                   12       subordination thereof has been filed within any applicable time period fixed by the Court or as to

                   13       which an order allowing such claim and establishing its priority has become final and non-

                   14       appealable. To the extent any Litigation Claim is not otherwise resolved in this Plan or is

                   15       otherwise dismissed for failure of the Creditor to timely file a proof of claim, any Litigation

                   16       Claim against the Debtor will be an Allowed Claim upon entry of a final determination after

                   17       postjudgment proceedings and appellate rights are exhausted.

                   18              D.      Bankruptcy Case. The pending Chapter 11 case entitled In re: Matheson Flight

                   19       Extenders. Inc., Case No. BK-N-15-50541-BTB.

                  20               E.      Bankruptcy Code. The Bankruptcy Code of 1978, as codified in Title 11 of the

                  21        United States Bankruptcy Code by Public Law 95-598, including all amendments thereof and

                  22        thereto applicable to the Bankruptcy Case.

                  23               F.      Bankruptcy Court. The United States Bankruptcy Court for the District of

                  24        Nevada, Reno, or such other court as has jurisdiction of the Bankruptcy Case.

                  25               G.      Bankruptcy Rules. Collectively, the Federal Rules of Bankruptcy Procedure and

                  26        the Local Rules of the Bankruptcy Court as applicable to the Chapter 11 Case.

                  27               H.      Bar Date.       August 17, 2015, the date established by the Notice of

                  28        Commencement of Case for the filing of proofs of Claim by Creditors and October 16, 2015, the
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                    1    date established by the Notice of Commencement of Case for the filing of proofs of claims by

                    2    certain governmental creditors.

                    3             I.        Claim. Any right to payment, whether or not such right is reduced to judgment,

                    4    liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

                    5    equitable, secured or unsecured; or any right to an equitable remedy for breach of performance,

                    6    if such breach gives rise to a right to payment, whether or not such right to an equitable remedy

                    7    is reduced to judgment, fixed, contingent, nnatured, unmatured, disputed, undisputed, secured or

                    8    unsecured.

                   9              J.        Colorado Litigation. Camara, et al. v. Matheson Flight Extenders, Inc., et al.,

                  10     filed in the United States District Court for the District of Colorado, Civil Action No.: 12-CV-

                  11     03040-CMA-CBS.

                  12              K.    Confirmation Date. The date upon which an order is entered in the Bankruptcy

                  13     Case confirming the Plan, including amendments thereto.

                  14              L.    Confirmation Hearing. The duly noticed initial hearing held by the Bankruptcy

                  1S     Court to confirm this Plan pursuant to Sections 1128 and 1129 of the Bankruptcy Code, and any

                  16     subsequent- hearing held by the Bankruptcy Court from time to time to which the initial hearing

                  17' is adjourned without further notice other than the announcement of the adjourned dates at the

                  18     Confirmation Hearing.

                  19              M.    Confirmation Order.             The order entered by the Bankruptcy Court

                  20     confirming this Plan.

                  21              N.    Creditor. Any holder of a Claim, whether or not such Claim is an Allowed

                 z2      Claim.

                  23              O.    Debtor. Matheson Flight Extenders, Inc., a California corporation.

                  24              P.    Default Under the Plan. If the Debtor fails to make any paynnent when due

                  25     under this Plan and that payment is not cured within one month thereafter, a Default Under the

                 ~i      Plan will exist.

                 27               Q.    Disclosure Statement. The written disclosure statement that relates to this Plan,

                 28      as conditionally approved by the Bankruptcy Court pursuant to Section l 125 of the Bankruptcy
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                   l     Code and Bankruptcy Rule 3017, as such disclosure statement may be amended, modified or

                  2      supplemented from time to time.

                  3             R.     Disputed Claim. A Claim that is (i)subject to timely objection interposed by the

                  4      Debtor or any party-in-interest entitled to file and prosecute such objection in this Chapter l 1

                  5      case, if at such time the objection remains unresolved; (ii) listed by the Debtor as disputed

                  6      unliquidated or contingent in the Bankruptcy Schedules; or (iii) if no objection has been timely
                                                                                proof of claim in an amount greater than
                  ~I filed, a Claim which has been asserted in a timely filed
                  8 or in a Class different than that listed by the Debtor in the Bankruptcy Schedules as Liquidated in
                  9      amount and not disputed or contingent; provided, however, that the Bankruptcy Court may

                 10      estimate a Disputed Claim for purposes of allowance pursuant to Section 502(c) of the

                 11      Bankruptcy Code. The term "Disputed", when used to modify a reference in this Plan to any

                 12      Claim or Class of Claims shall mean a Claim that is a Disputed Claim as defined herein. In the

                 13      event there is a dispute as to classification or priority of a Claim, it shall be considered a

                 14      Disputed Claim in its entirety. tJntil such time as a Disputed Claim becomes fixed and absolute,

                 1S      such Claim shall be treated as a Disputed Claim and not an Allowed Claim for purposes related

                 16      to allocations and distributions under this Plan. A Disputed Claim includes each Litigation

                 17      Claim, including without limitation any Claim of any plaintiff in Henry v. Matheson Flight

                 18      Extenders, Inc., Case No. 15AC-CC0082 (Circuit County Court, Cole County, MO,class action

                 19      Fair Credit Reporting Act lawsuit), and the claim, if any, of Kristi Blowers in an EEOC

                 20      employment discrimination proceeding.

                 21             S.      Disputed Claim Reserve.        The Reserves established to hold in one or more

                 22      accounts of cash equal to the aggregate amount thereof as provided for in this Flan that would

                 23      have been distributed on a Distribution Date on account of a Disputed Claim or as otherwise

                 24      established by Final Order.

                 25             T.      Distribution. Any Distribution by the Debtor or the Reorganized Debtor to the

                 26      holders of Allowed Unclassified Claims, Allowed Priority Claims and Allowed Claims in

                 27      accordance with the terms of this Plan.

                 28      ///
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                   1                 U.      Distribution Date.      Each of: (a) the date on which the Debtor makes a

                   2          Distribution pursuant to any order entered by the Bankruptcy Court to Allowed Unclassified

                   3          Claims, Allowed Priority Claims or Allowed Claims;(b)the date that is the first day of the third

                   4          month following the First Distribution Date on which the Reorganized Debtor will make

                   5          Distributions to holders of Allowed Claims in Class 4 and Class 5, and each successive first day

                   6          of the third month thereafter until the Allowed Claims in Class 4 and Class 5 are paid in

                   7          accordance with this Plan.

                   S                 V.      Effective Date. The first business day which is five days after the Confirmation

                   9          Order becomes a Final Order.

                 10                  W.      Effective Date Payment.        The payment made by the Reorganized Debtor to

                 11           each Stipulating Judgment Creditor as defined in the Settlement Agreement in the amount of

                 12           $142,857, and the payment made by the Reorganized Debtor to each individual holder of an

                 13           Allowed Claim in Class 4 on the Effective Date in the amount of fourteen (14) percent of the

                 14           total amount of each such respective Claim, and the payment made to any counterparty to

                 15           effectuate a cure of an executory contract or unexpired lease of real property that is assumed.

                 16                  X.      Equity Security. Any equity security in the Debtor as the term is defined in

                 17           Section 101(16) of the Bankruptcy Code, which states "(A) share in a corporation, whether or

                  18          not transferable or denominated `stock', or similar security;(b) interest of a limited partners in a

                  19 I limited partnership; or (C) warrant or right, other than a right to convert, to purchase, sell, or
                 20           subscribe to a share, security, or interest of a kind specified in subparagraph (A) or (B) of this

                 21 ' paragraph."
                 22                  Y.       Equity Security Holder. The holder of an Equity Security of the Debtor. For

                 23           purposes of this Plan, Joe Garrett, Inc. is the shareholder of the Debtor. Trucking is the parent of

                 24           Joe Garrett, Inc., the indirect shareholder ofthe Debtor and a Plan Proponent.

                 25                  Z.      Federal Judgment Rate. The rate of interest on judgments as provided for by 28

                 26           U.S.C. §1961 as ofthe Petition Date.

                 27                  AA.     Final Order. An order,judgment or other decree ofthe Bankruptcy Court which

                 28           has been appealed but which has not been vacated, reversed, modified or amended or stayed, or
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                    1    for which the time to appeal or seek review or rehearing has expired with no appeal having been

                   2 ~ filed.
                   3            BB.    First Distribution Date.       April 1, 2016, the date on which the Reorganized

                   4     Debtor will make a Distribution on the Allowed Claims in Class 4 and Class 5.

                   5            CC.     Litigation Claim.    All rights, claims, torts, liens, liabilities, obligations, action,

                   6     causes of action, avoidance actions, derivative actions, proceedings, debts, contracts,judgments,

                   7     damages and demands whatsoever in law or in equity, whether known or unknown, contingent or

                   8     otherwise, that Debtor or the Estate may have against any person, or that any person may have

                   9     against the Debtor or the Estate. Failure to list a Litigation Claim herein or in the Disclosure

                  10     Statement shall not constitute a waiver or release by the Debtor or the Reorganized Debtor.

                  11            DD.     Matheson Trucking,Inc.        The parent corporation of Joe Garrett, Inc., the

                  12     indirect parent of MFEI and a Plan Proponent and sometimes referred to as a "Plan Proponent"

                  13     or as "Trucking".

                  14            EE.     Net Operating Income. The cash generated from operations of the Reorganized

                  15     Debtor, minus Operating Costs and Operating Reserves. "Net Operating Income" is sometimes

                  16     referred to as "Cash from Operations" in the Debtor's cash projections.

                  17            FF.     New Value Contribution,       The amount of $1,300,000 contributed by Trucking

                  18     to the Plan as an appropriate contribution pursuant to 11 U.S.C. §1129(b)(2)(B}.

                  19            GG.     Operating Costs. All costs associated with the operation, maintenance and

                 20      management ofthe Reorganized Debtor.

                 21             HH.          Operating Reserves. The amount of cash determined in good faith by the

                 22      Debtor or the Reorganized Debtor as appropriate, from time to time, to be reserved and

                 23      maintained in order to pay all reasonably anticipated Operating Costs of the Reorganized Debtor

                 24      for up to a two month period of time.

                 25             II.     Petition Filing Date. April 19, 2015, the date on which Debtor filed its voluntary

                 26      petition commencing the Bankruptcy Case.

                 27             JJ.    Plan.     This Plan of Reorganization, together with any amendments or

                 28      modifications thereto as may be hereafter filed by the Plan Proponents.
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                    1           KK.     Reorganized Debtor. The entity known as Matheson Flight Extenders, Inc., a

                   2     California corporation, created upon entry ofthe Confirmation Order.

                   3            LL.     Secured Claim. A Claim that is secured by a Lien against property of the Estate

                   4     to the extent of the value of any interest in such property of the Estate securing such Claim or to

                   5     the extent of the amount of such Claim subject to setoff in accordance with Section 553 of the

                   6     Bankruptcy Code, in either case as determined pursuant to Section 506(a) of the Bankruptcy

                   7 ~ Code.

                   8            MM. Settlement Agreement. The document entitled Offer of Matheson Trucking Inc.

                   9     and Matheson Flight Extenders. Inc. to Mahamet Camara, Andre De Oliveira, Bernba Diallo,

                  10     Salif Diallo Macire Diarra Ernie Duke and Dean Patricelli, that was accepted by Mahamet

                  11     Camara, Andre De Oliveira, Ernie Duke and Dean Patricelli, on the one hand, and Trucking and

                  12     the Debtor, on the other hand, on November 13, 2015, and that was accepted by Bemba Diallo,

                  13     Salif Diallo and Macire Diarra, on the one hand, and Trucking and the Debtor, on the other hand,

                  14     on November 18, 2015.

                  15            NN.     Settling Plaintiffs.       The four plaintiffs in the Colorado Litigation, Moussa

                  16     Dembele, Mohamed Kaba, Cresencio Sanchez and Ernest Williams, who entered into separate

                  17     contracts with the Debtor and Matheson Trucking prepetition for the settlement and release of

                  18     their claims in the Colorado Litigation and which contracts were not in default on the Petition

                  19     Date and are not currently in default.

                 20             00. Stipulating Judgment Creditors. The seven plaintiffs in the Colorado Litigation

                 21      who did not settle with the Debtor and Trucking prepetition, namely, Andre De Oliveira, Bemba

                 22      Diallo, Dean Patricelli, Ernie Duke, Macire Diarra, Mahamet Camara and Salif Diallo and who

                 23      have entered into the Settlement Agreement with the Debtor and Trucking to fully, completely

                 24      and finally resolve their respective Proofs of Claim filed in this Bankruptcy Case and to fully,

                 25      completely and finally resolve and dismiss the Colorado Litigation.

                 26             1.2     Computation of Time. In computing any period of time prescribed or allowed

                 27      by this Plan, unless otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a)

                 28      shall apply,
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                    1           1.3     Ruies of Interpretation.       For purposes of this Plan only (i) any reference in

                   2     this Plan to a contract, instrument, release, or other agreement or documents being in particular

                   3     form or on particular terms and conditions means that such document shall be substantially in

                   4     such form ar substantially on such terms and conditions; (ii) any reference in this Plan to an

                   5     existing document or exhibit filed or to be filed means such document or exhibit as it may have

                   6     been or may be amended, modified, or supplemented; (iii) unless otherwise specified, all

                   7     references in this Plan to Sections, Articles, schedules and exhibits are references to Sections,

                   8     Articles, schedules or exhibits of or to this Plan;(iv) the words "herein," "hereof," hereto," and

                   9     "hereunder" refer to this Plan in its entirety rather than to a particular portion of this Plan; (v)

                  10     captions and headings to Articles and Sections are inserted for convenience of reference only and

                  11     are not intended to be a part of or to affect the interpretation of this Plan; and (vi) the rules of

                  12     constructions and definitions set forth in Sections 101 and 102 ofthe Bankruptcy Code and in the

                  13     Bankruptcy Rules shall apply unless otherwise expressly provided.

                  14            2.      TREATMENT OF UNCLASSIFIED CLAIMS

                  15            Pursuant to Section 1123(a)(1) of the Bankruptcy Code, Unclassified Claims against the

                  16     Debtor are not designated as Classes and the holders of such claims are not entitled to vote on

                  17     this Plan. The treatment of Unclassified Claims is consistent with the requirements of Section

                  18     1129(a)(9)(A) ofthe Bankruptcy Code.

                  19            2.1     Administrative Claims.

                 20             Administrative Claims that have been allowed by final order of the Bankruptcy Court

                 21      will be paid on the Effective Date or, if not Allowed by the Effective Date, then at such time as

                 22      the administrative claimant and the Debtor agree. Except as provided herein, Administrative

                 23      Claims that are allowed will be paid from the Reorganized Debtor's Net Operating Income.

                 24             Unless provided for payment in this Plan, all requests for payment of Administrative

                 25      Claims against Debtor must be fled by the Administrative Claims Bar Date or the holders

                 26      thereof shall be forever barred from asserting such Administrative Claims against the Plan

                 27      Proponents and the Reorganized Debtor. Requests for Administrative Claims may be amended

                 28      to include any fees and costs incurred after the Effective Date. Because the Official Committee
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                   1~ of Unsecured Creditors will be dissolved no later than the Effective Date, the Plan Proponents

                   2     anticipate that requests for Administrative Claims on behalf of its professionals incurred after

                   3     the Effective Date will be limited to any fees and costs incurred in seeking final awards

                   4     authorizing payment offees and costs.

                   5            The Administrative Claims that the Plan Proponents seek approval of in this Plan and that

                   6     they propose to pay from the Reorganized Debtor's Net Operating Income on the Effective Date

                   7     are as follows:

                   8            Allowed professional fees to Hartman &Hartman, Ltd.; Lee &High, Ltd., Campbell

                   9     Litigation, Davis Graham &Stubbs, LLP, Pacific Capital Transactions, McDonald Carano

                  10     Wilson and Henry &Horne,LLP.

                  11            2.2        Priority Claims.

                  12            All Priority Claims of any kind specified in Sections 507(a)(1) through (a)(10) are not

                  13     classified and are excluded from the following classes in accordance with Section 1123(a)(1) of

                  14     the Bankruptcy Code. All Priority tax claims, if any, will be paid by the Reorganized Debtor(a)

                  15     on the Distribution Date;(b) such other time as is agreed to by the holder of such Claim and the

                  16     Debtor and the holder of such Claim prior to the Effective Date or the Reorganized Debtor and

                  17     the holder of such Claim after the Effective Date; or(c)regular payments in case of a total value,

                  18     as of the Effective Date of the Plan, equal to the allowed amount of such claim, over a period

                  19     ending not later than 5 years after the Petition Date and in a manner not less favorable than the

                 20      most favored nonpriority unsecured Claim provided by this Plan.

                 21              The Priority Claims that have been filed are as follows:

                 22                                           Franchise Tax Board, $882.02

                 23                                     City and County of Denver, $5,569.50

                 24             The Debtor believes that these Priority Claims are either not owed or are not yet due.

                 25      The Debtor will attempt to resolve these Priority Claims with the respective creditor and, to the

                 26      extent any amounts are due, will either pay those amounts on the Effective Date or, if the Debtor

                 27      has not been able to resolve the matter by that date, will reserve the funds necessary to satisfy the

                 28      Claim and will pay it when the Claim has been resolved.
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                   1                    2.3     Fees to Office of the United States Trastee.

                  2              All fees required to be paid to the United States Trustee will be paid in full upon

                  3      confirmation of the Plan, and shall remain current until the case is fully administered or closed,

                  4       whichever occurs first.

                  5              3.      CLASSIFICATION OF CLAIMS AND INTERESTS

                  6              Pursuant to Section 1123(a)(1) of the Bankruptcy Code, all Claims against the Debtor,

                  7      except Unclassified Claims, are placed in the following classifications as set forth below. The

                  8      holders of Claims in Classes of Claims 4 and 5 are impaired and are entitled to vote on the Plan.

                  9 ~I The Class of Equity Security interests is not impaired and is not entitled to vote.

                 10              Class 1:       Secured Claim of United States Postal Service, to the extent the Claim is a

                 11       Secured Claim, for offset in the amount of$457,663.96.

                 12              Cass 2:        Administrative Convenience Allowed Claims of Unsecured Creditors

                 13       owed.individually less than $13,SOQ.00.

                 14              Class 3:       Allowed Claims of Settling Plaintiffs.

                 15              Class 4:       Allowed Claims of Unsecured Creditors individually owed more than

                 16       $13,500.00 and not entitled to priority under Section 507 of the Bankruptcy Code and not

                 17       otherwise included in any other class hereof, including, without limitation, claims which may

                 18       arise out ofthe rejection of executory contracts or unexpired leases.

                 19'             Class S:        Allowed Claims of the Stipulating Judgment Creditors.

                 20              Class 6:           Claim of Wells Fargo Bank,NA.

                 21              Class 7:        The claims and interests ofthe Equity Security Holders ofthe Debtor.

                 22              4.      TREATMENT OF CLAIMS AND INTERESTS

                 23              Classes of Claims and Interests shall. be treated as set forth herein below.

                 24              4.1.    Class 1 —The Secured Claim of the United States Postal Service will be paid in

                 25       full on the Effective Date from the funds the United States Postal Service is holding to offset a

                 26       debt owed by the Debtor in the amount of $457,663.96 in full satisfaction of the Claim of the

                 27       United States Postal Service for $457,663.96, Class 1 is not impaired and not entitled to vote.

                 28      ri~~
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                   1             4.2    Class 2 —Administrative Convenience Allowed Claims of Unsecured Creditors

                  2      owed less than $13,500.00. Plan Proponents propose to pay the Allowed Claims of Class 2

                  3      Creditors in full on the Effective Date.   Class 2 Creditors are unimpaired and are not entitled to

                  4      vote.

                  5              4.3    Class 3 —Allowed Claims of Settling Plaintiffs will receive Distributions from the

                  6      Net Operating Income of the Reorganized Debtor in accordance with the terms of the respective

                  7      pre-petition contract between the Debtor and Trucking, on the one hand, and each respective

                  8      Settling Plaintiff, on the other hand. Class 3 Creditors are unimpaired and are not entitled to

                  9      vote.

                 IO              4.4    Class 4 —Allowed Claims of Unsecured Creditors individually owed more than

                 11      $13,500 will be paid 100 percent of their Allowed Claims plus interest at the Federal Judgment

                 12      Rate, with an Initial Payment of 14 percent ofeach Allowed Claim on the Effective Date, and the

                 13      balance of each Allowed Claim over eight years in quarterly installments. At the entire

                 14      discretion of the Reorganized Debtor, the Reorganized Debtor may prepay any Minimum

                 15      Distribution on Allowed Claims in Class 4 entirely at the discretion of the Reorganized Debtor

                 16      from Net Operating Income. Discretionary payments from Net Operating Income, if any, will be

                 17      made proportionately to every holder of an Allowed Claim in Class 4.

                 18              4.5    Class 5 — In full satisfaction of the Proof of Claim each Stipulating Judgment

                 19      Creditor filed herein, the Stipulating Judgment Creditors will be paid in accordance with the

                 20      Settlement Agreement as follows: to each Stipulating Judgment Creditor, Trucking has made_the

                 21      Initial Payment as defined in the Settlement Agreement in the amount of $1$5,714; on the

                 22      Effective Date, the Reorganized Debtor will pay to each Stipulating Judgment Creditor the

                 23      amount of $142,857 as the Effective Date Payment; and the Reorganized Debtor will pay the

                 24      sum of $714,286 in 32 equal quarterly payments with the first quarterly payment to commence

                 25      April 1, 2016. The amount awarded to each Stipulating Judgment Creditor as back pay in the

                 26      Colorado Judgment shall be paid to that Stipulating Judgment Creditor as wages (i.e., subject to

                 27       withholdings and reported on an IRS form W-2); the remainder of the payments to each

                 28       Stipulating Judgment Creditor shall be paid in gross, reported on IRS form 1099s, and allocated
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                  1     between payments to the Stipulating Judgment Creditor and his counsel as directed in advance

                  2     by counsel; and any payment. due to a Stipulating Judgment Creditor will be made by check

                  3     made payable to the Stipulating Judgment Creditor and delivered to the Stipulating Judgment

                  4     Creditor in care of his counsel.

                  5             4.6.   Class 6 --Wells Fargo Bank, NA will retain its guaranty against the Debtor and

                  6     will be entitled to enforce it in the event of a material default on the terms of the Forbearance

                  7     Agreement and Credit Agreement. The Class 6 Creditor is unimpaired and is not entitled to vote.

                  8             4.7    Class 7 —Equity Security Holders will retain their interests in the Reorganized

                  9     Debtor. Equity Security Interests are unimpaired and the holders of Equity Security Interests are

                 10     conclusively deemed to have accepted the Plan pursuant to §11260 of the Bankruptcy Code.

                 11     Therefore, the holders of Equity Security Interests are not entitled to vote to accept or reject the

                 12     Plan.

                 13             5.     MEANS T4 EFFECTUATE THE PLAN

                 14             5.0    Means to Effectuate Plan. The Plan Proponents intend to effectuate the Plan in

                 15     one oftwo alternative .means, as follows:

                 16                    This Plan provides that the Debtor will continue to exist on and after the Effective

                 17     Date as the Reorganized Debtor. The Plan will be implemented as follows:

                 18                    5.0.1   The Debtor will, as the Reorganized Debtor, continue to exist after the

                 19     Effective Date, with all the corporate powers under applicable law and without prejudice to any

                20      right to alter or terminate such existence (whether by merger, dissolution or otherwise) under

                 21     applicable state law, and the Debtor may enter into and consummate one or more corporate

                22      restructuring transactions, including, but not limited to, changing the business or corporate form

                 23     of the Debtor. Except as otherwise provided herein, after the Effective Date Payment is made,

                 24     all property of the Estate of the Debtor, and any property acquired by the Debtor or Reorganized

                zs      Debtor under the Plan, will vest in the Reorganized Debtor, free and clear of all Claims, liens,

                 26     charges, other encumbrances and interests, other than those otherwise expressly provided for

                 27     pursuant to the Plan. On and after the Effective Date, the Reorganized Debtor may operate its

                 28     business and may use, acquire and dispose of property and compromise or settle any Claims
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                   1     without supervision or approval by the Bankruptcy Court and free of any restrictions of the

                  2      Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the

                  3      Plan or the Confirmation Order. Without limiting the foregoing, the Reorganized Debtor may

                  4      pay the charges that it incurs on or after the Effective Date for Professionals' fees,

                  5      disbursements, expenses or related support services (including fees relating to the preparation of

                  6'' Professional fee applications) without application to the Bankruptcy Court. To the extent the

                  7      Reorganized Debtor has Net Operating Income, the Reorganized Debtor will use its Net

                  8' Operating Income to meet Effective Date requirements and to make Distributions under the Plan.

                  9      Distributions under the Plan will be made from the New Value Contribution and Debtor's Net

                 10      Operating Income. The New Value Contribution has been made to the Reorganized Debtor by

                 11      Trucking.

                 12                     5.0.2. In accordance with Section 1123(b)(3) of the Bankruptcy Code, all

                 13      Litigation Claims will be assigned and transferred to the Reorganized Debtor.

                 14                     5.0.3. The Reorganized Debtor will continue to prosecute and defend the

                 15      Disputed Claims in the court or administrative venue in which each is currently pending,

                 16      including any appeals therefrom. To the extent the holders of Disputed Claims did not timely

                 17      file Proofs of Claim, the Disputed Claims will be disallowed in their entirety and any pending

                 18      Litigation related thereto will be dismissed with prejudice. Tn addition, the Reorganized Debtor

                 19      will continue to prosecute any and all Litigation Claims in the discretion of the Reorganized

                 20      Debtor, including obtaining dismissal of any Litigation Claim for which the Creditor did not

                 21      timely file a Proof of Claim.

                 22                      5.0.4 The Settlement Agreement, which is incorporated herein by this reference

                 23      as if fully set forth herein, shall be deemed in full force and effect and approved in its entirety.

                 24      The Settlement Agreement shall be binding upon the parties thereto, including all successors and

                 25      assigns.    The Stipulating Judgment Creditors and the Plan Proponents will take all steps

                 26      necessary to effectuate all terms of the Settlement Agreement, whether or not set forth in full

                 27      herein.

                 28      ///
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                    1              5.1     Effective Date Events. On the Effective Date, the following events shall occur:

                    2                      5.1.1   The Reorganized Debtor will be created as set forth in this Plan and the

                    3 ~ Confirmation Order.
                    4                      5.1.2. Trucking shall be deemed to have made a New Value Contribution to the

                    5 ~ Debtor.
                    6                      5.1.3. Effective Date Payments to Creditors as set forth in this Plan as required

                    7       to be made on the Effective Date will be made.

                    8                      5.1.4 The Reorganized Debtor will continue to operate the business of the

                    9 ~ Debtor.
                  10                       5.1.5    The Settlement Agreement will be in full force and effect and all of its

                  11        terms, whether or not set forth herein will be fully enforceable and binding on all parties.

                  12                       5.1.6 To the extent the Official Committee of Unsecured Creditors has not

                  13        previously been disbanded, it will be dissolved.

                  14              5.2      Procedures for Resolving Disputed Claims

                  15                       5.2.1 Prosecution of Objections to Claims

                  16                       The Bar Date for filing proofs of claim is August 17, 2015 for nongovernmental

                  17        Creditors and October 16, 2015, for certain governmental creditors. After the Confirmation

                  18 ' Date, only the Debtor or the Reorganized Debtor will have the authority to file, settle,
                   19       compromise, withdraw or litigate to judgment objections to Claims, mcludmg pursuant to any

                  20        alternative dispute resolution or similar procedures approved by the Bankruptcy Court. After the

                  21        Effective Date, the Reorganized Debtor may settle or compromise any Disputed Claim without

                  22 '~ approval ofthe Bankruptcy Court.
                  23                       5.2.2 Treatment of Disputed Claims

                  24                       Notwithstanding any other provisions of the Plan, no payments or distributions

                  25        will be made on account of a Disputed Claims until such Claim becomes an Allowed Claim. Any

                  26        Disputed Claim for which a proof of claim was not timely filed will be disallowed in its entirety

                  27        and any Litigation related thereto will be dismissed with prejudice.

                  28 ' ///
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                    1                  5.2.3   Distributions on Account of Disputed Claims Once Allowed

                   2                   The Reorganized Debtor will promptly make all distributions on account of any

                    3    Disputed Claim that has become an Allowed Claim. Such distributions will be made pursuant to

                   4     the provisions of the Plan governing the applicable Class.

                    5                  5.2.4 Estimation

                   6                   The Debtor or the Reorganized Debtor, as the case may be, may at any time

                   7     request that the Bankruptcy Court estimate any Disputed Claim pursuant to section 502(c) of the

                   8     Bankruptcy Code regardless of whether the Debtor or the Reorganized Debtor has previously

                   9     objected to such Claim. The Bankruptcy Court will retain jurisdiction to estimate any Claim at

                  10     any time, including during proceedings concerning any objection to such Claim. If the

                  11     Bankruptcy Court estimates any Disputed Claim, such estimated amount may constitute either

                  12     (a) the Allowed amount of such Claim,(b)the amount on which a reserve is to be calculated for

                  13     purposes of any reserve requirement under,the Plan, or(c)a maximum limitation on such Claim,

                  14     as determined by the Bankruptcy Court. If the estimated amount constitutes a maximum

                  15     limitation on such Claim, the Debtor or the Reorganized Debtor, as the case may be, may elect to

                  16     object to ultimate payment of such Claim. All of the aforementioned Claims objection,

                  17     estimation and resolution procedures are cumulative and not necessarily exclusive of one

                  18     another.

                  19            6.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                  20                   6.01. Plan Terms Applicable to All Executory Contracts and Unexpired Leases

                  21                   Exce t for XL Catlin.

                  22           Any executory contract and unexpired lease that (i) has not expired by its own terms on or

                  23     prior to the Effective Date, (ii) has not been assumed or rejected by the Debtor during the.

                  24     pendency of the Chapter 11 Case, (iii) is not listed in Exhibit H to the Disclosure Statement as

                  25     executory contracts or unexpired leases to be rejected, and (iv) is not the subject of a pending

                  26     motion to reject such executory contract or unexpired lease, shall be deemed assumed by the

                 27      Debtor as of immediately prior to the Effective Date, and the entry of the Confirmation Order by

                 28      the Bankruptcy Court shall constitute approval of any such assumption pursuant to section
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                  1      365(a) and 1123 of the Bankruptcy Code. Any executory contract or unexpired lease listed in

                 2       Exhibit H to the Disclosure Statement as an executory contract or unexpired lease to be rejected

                 3       by the Debtor shall be deemed rejected by the Debtor as of immediately prior to the Effective

                 4       Date, and the entry of the Confirmation Order by the Bankruptcy Court shall constitute approval

                 5       of any such rejection pursuant to sections 365(a) and 1123 of the Bankruptcy Code.

                 6              Entry of the Confirmation Order shall constitute (i) approval, pursuant to Section 365(a)

                  7      of the Bankruptcy Code, of the assumption by the Reorganized Debtor of each executory

                  8      contract and unexpired lease listed on Schedule A and each executory contract and unexpired

                  9      lease assumed by prior order of the Bankruptcy Court,(ii) approval for the Estate to reject each

                10       executory contract and unexpired lease to which a Debtor is a party and which is not listed on

                 11      Schedule A and neither assumed, assumed and assigned nor rejected by separate order prior to

                 12      the Effective Date. Upon the Effective Date, each counter party to an executory contract or

                 13      unexpired lease listed on Schedule A shall be deemed to have consented to assumption

                 14      contemplated by Bankruptcy Code Section 365(c)(1)(B), to the extent such consent is necessary

                 15      for such assumption. Any default entitled to monetary cure respecting any assumed executory

                 16      contract or unexpired lease shall be paid on the Effective Date.

                 17              All proofs of claim arising from the rejection (if any) of executory contracts or unexpired

                 18      leases must be filed with'the Bankruptcy Court by no later than 30 days after the earlier of: (i)

                 19      the date of entry of an order of the Bankzuptcy Court approving any such rejection and (ii) the

                 20      Effective Date. Any Claims arising from the rejection of an executory contract or unexpired

                 21      lease for which no proof of claim was timely filed will be forever barred from assertion against

                 22      the Debtor or the Reorganized Debtor, its estate and property. All such Claims shall, as of the

                 23       Effective Date, be subject to the discharge and permanent injunctions set forth in the Plan,

                 24              Any monetary amounts by which an executory contract or unexpired lease to be assumed

                 25       pursuant to the Plan is in default shall be satisfied pursuant to section 365(b)(1) of the

                 26       Bankruptcy Code by payment of the default amount in cash or on such other terms as the parties

                 27       to each such executory contract or unexpired lease may otherwise agree. In the event of any

                 28       dispute regarding the amount of any cure payments, (a) the Bankruptcy Court will retain
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                   1     jurisdiction to adjudicate any such dispute, and (b) if the Bankruptcy Court determines that any

                  2      such disputed cure amount is required to be paid (in full or in part) by the Debtor pursuant to

                  3      section 365(b)(1) of the Bankruptcy Code, the Debtor will pay such cure amount in the ordinary

                  4      course following entry of the Bankruptcy Court's Final Order resolving such cure dispute,

                  5       rovided that, the Debtor or Reorganized Debtor shall, have the right, following entry of such a

                  6      Final Order fixing a cure amount(if any)to reject the applicable executory contract or unexpired

                  7      lease and any such rejection shall be deemed to have occurred immediately prior to the Effective

                   8     Date.

                  9                       6.02. Plan Terms Applicable to XL Catlin.

                 10              Greenwich Insurance Company and XL Specialty Insurance Company (collectively,"XL

                 11      Catlin"), filed a secured claim in an undetermined amount arising out of unpaid premium

                 12      payments and other amounts due under certain insurance policies and non-policy agreements

                 13      issued by XL Catlin to Trucking, on its own behalf and on behalf of the Debtor, and/or entered

                 14      into between XL Catlin and Trucking, on its own behalf and on behalf of the Debtor, prior to the

                 15      Petition Date.

                 16              Prior to the Petition Date, XL Catlin issued certain insurance policies (collectively, with

                 17      the "Aviation Policy" referred to below, the "Policies") to Trucking, on its own behalf and on

                 18      behalf of the Debtor: (i) a Commercial General Liability Policy No. RGD9435053, having a

                 19      policy period March 1, 2015 through March 1, 2016; (ii) an Automobile Liability Policy No.

                 20      RAD500195, having a policy period March 1, 2015 through March 1, 2016;(iii) an Automobile

                 21      Liability Policy No. RAD 9435052, having a policy period March 1, 2015 through March 1,

                 22      2016; and (v) a Workers Compensation Policy No. RWD9435054,having a policy period March

                 23      1, 2015 through March 1, 2016. Also prior to the Petition Date, XL Catlin issued an Aviation

                 24      Policy No. UA00010968AV15A, having a policy period March 1, 2015 through march 1, 2016

                 25      (the "Aviation Policy")to the Debtor.

                 26              Also prior to the Petition date, XL Catlin and Trucking, on its own behalf and on behalf

                 27      of the Debtor, entered into an Insurance Program Agreement (the "Insurance Program

                 28      Agreement") and a series of Plan Specifcation agreements (the "Plan Specifications" and, with
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                   1     the Insurance Program Agreement, the "Non-Policy Agreements"). The Non-Policy Agreements

                   2     establish and provide for, among other things, the payments the insureds are required to pay to

                   3     XL Catlin (the "Obligations"), XL Catlin's right of offset, the security for the insureds

                   4     Obligations that the insureds are required to deliver to XL Catlin (the "Collateral"), events of

                   5     default and XL Catlin's rights in the event of default, including XL Catlin's use ofthe Collateral,

                   6     the insureds' obligation to indemnify XL Catlin, and the parties' agreement with respect to

                   7     arbitration.

                   8            Pursuant to the Non-Policy Agreements, Trucking, on its own behalf and on behalf of the

                   9     Debtor, originally provided XL Catlin with a clean, unconditional and irrevocable letter of credit

                 10. (the "Letter of CrediY') in the amount of $2,500,000. For the policy period March 1, 2015

                 11      through March 1, 2016, the amount of the Letter of Credit has been increased to $6,340,000. XL

                 12      Catlin has not drawn on the Letter of Credit.

                 13              As of the Petition Date, XL Catlin has a claim against the Debtor in an undetermined

                 14      amount because, while all basic Premium has been paid as of that date, certain of the Policies

                  15     have a retrospective premium feature, pursuant to which Incurred Losses are used to calculate

                  16     and adjust the final Premium due. Accordingly, the amount of the Premium due in connection

                  17     with the Policies will not be known. until the relevant policy periods have expired and the

                  18     necessary audits have been conducted.

                  19             All of the insureds' Obligations to XL Catlin are secured by XL Catlin's right of setoff,

                 20      as provided under the~Non-Policy Agreement and under other non-bankruptcy law. In addition,

                 21      all of the insureds' Obligations to XL Catlin are secured by a security interest in the Collateral,

                 22      the proceeds of the Collateral and any return premiums or other amounts that may be payable to

                 23      the insureds by XL Catlin. XL Catlin's claim is secured by a credit in the amount of $21,104.04

                 24      owed by XL Catlin to the insureds in connection with a prior year's Workers Compensation

                 25      policy. In addition, in the event XL Catlin draws on the Letter of Credit, XL Catlin's Claim also

                 26      is secured by the proceeds of the Letter of Credit. Notwithstanding anything to the contrary in

                 27      the Disclosure Statement, the Plan, the Confirmation Order, any other document related to any of

                 28      the foregoing or any other order of the Bankruptcy Court (including, without limitation, any
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                   1     other provision that purports to be preemptory or supervening or grants an injunction or release,
                   2     including, but not limited to, the injunctions set forth in Section 7.7 and 7.8 ofthe Plan):
                   3            (a) on the Effective Date, the Reorganized Debtor shall assume all the Policies, as

                   4     amended or modified, issued at any time to the Debtor, its affiliates or predecessors, and all
                   S     agreements related thereto, as amended or modified (collectively, the "Insurance Contracts");
                   g            (b) nothing in the Disclosure Statement, the Plan, the Confirmation Order, any other
                   ~     document related to any of the foregoing or any other order of the Bankruptcy Court alters,
                   g     modifies or otherwise amends the terms and conditions of or the coverage provided by any ofthe
                   g     Insurance Contracts, except that as of the Effective Date the Reorganized Debtor shall become

                 10      and remain liable for all of the Debtor's obligations and liabilities thereunder regardless of

                 11      whether such obligations and liabilities arise before or after the Effective Date; provided,

                 12      however that the Debtor or Reorganized Debtor, as applicable, shall retain the right to challenge

                 13      ~Y amounts owed under the Insurance Contracts in accordance with their terms, and the rights

                 14      and obligations of the parties under the Insurance Contracts, whether or not such Insurance

                 1S      Contracts are executory or were in effect before or after the Petition Date, shall remain fully

                 16      enforceable by the parties after the Effective Date;

                 17             (c) nothing in the Disclosure Statement, the Plan, the Confirmation Order, any other
                 1g      document related to any of the foregoing or any other order of the Bankruptcy Court, including

                 19      without limitation any prepetition or administrative claim bar date order or claim objection order
                 2p      alters or modifies the duties, if any, that the insurers and/or third party administrators have to pay

                 21      claims covered by the Insurance Contracts or the insurers' and/or third party administrators'

                 22      rights to seek payment or reimbursement from the Debtor or, after the Effective Date, the

                 23      Reorganized Debtor or to draw on any collateral or security therefor in accordance with the
                 24.     terms ofthe Insurance Contracts;

                 25             (d)insurers and third party administrators shall not need to nor be required to file or serve
                 26      an objection to any proposed Cure Amount, or a request, application, claim, proof of claim or
                 27      motion for payment of any prepetition or administrative claim, and shall not be subject to the any
                 28      claim bar date or similar deadline governing Cure Amounts or prepetition or administrative
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                   1     claims; and

                   2            (e)the automatic stay of section 362(a) of Bankruptcy Code and the injunctions set forth

                   3     in Section 7.7 and Section 7.8 of the Plan, if and to the extent applicable, shall be deemed lifted

                   4     without further order of the Bankruptcy Court solely to permit: (i) claimants with valid claims

                   5     covered by any of the Insurance Contracts ("Insured Claims") to proceed with their Insured

                   6     Claims;(ii) insurers and/or third party administrators to administer, handle, defend, settle, and/or

                   7     pay, in the ordinary course of business and subject to the terms of the Insurance Contracts,

                   8     without further order of the Bankruptcy Court, all Insured Claims and all costs in relation

                   9     thereto; (iii) insurers and/or third party administrators to draw against any or all of any collateral

                 10      or security provided by or on behalf of the Debtor or the Reorganized Debtor, as applicable, at

                 I1      any time and to hold the proceeds thereof as security for the obligations of the Debtor or the

                 12      Reorganized Debtor, as applicable, to the applicable insurers and/or third party administrators

                 13      and/or to apply such proceeds to the obligations of the Debtor or the Reorganized Debtor, as

                 14      applicable, in accordance with the terms of the Insurance Contracts, and (iv) insurers and/or

                 15      third party administrators to cancel any insurance policies under the Insurance Contracts, and

                 l6      take other actions relating thereto, to the extent permissible under applicable non-bankruptcy

                  17     law, each in accordance with the terms of the Insurance Contracts.

                  18            The terms set forth above are in full satisfaction of the Proof of Claim filed on behalf of

                 19      XL Catlin in the Bankruptcy Case.

                 20              7.      MISCELLANEOUS PROVISIONS

                 21             7.1      On the Confirmation Date, immediately after the Effective Date Payment is made,

                 22      all property of the estate of Debtor shall be re-vested in the Reorganized Debtor, which shall

                 23      retain such property free and clear of all liens, claims, encumbrances and interests of the

                 24      Creditors. The name of the Reorganized Debtor will be Matheson Flight Extenders, Inc., a

                 25      California corporation.

                 26              7.2     Reorganized Debtor will serve as disbursing agent and shall disburse all property

                 27      to be distributed under the Plan. Reorganized Debtor may employ or contract with other entities

                 28      to assist in or to perForm Distributions and shall serve without bond.
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                   1            7.3     Confirmation of the Plan constitutes the discharge pursuant to 11 U.S,C. § 1141

                  2      of any and all liabilities of the Debtor which are discharged pursuant to the provisions of the

                   3     Bankruptcy Code.

                  4             7.4     In accordance with Section 1123(b)(3) of the Bankruptcy Code, any and all

                   S     Litigation Claims that may exist shall be transferred and assigned to the Reorganized Debtor.

                  6             7.5     The estate shall be deemed to be fully administered upon the commencement of

                   7     Distribution to Creditors as set forth herein, and a final decree may be entered in accordance with

                   8     Fed. R. Bankr. Pro. 3022. In the event of any default by the Reorganized Debtor in performing

                   9     any term of this Plan, the Reorganized Debtor will have 60 days after receipt of written notice of

                 10      such a default by the holder of an Allowed Claim within which to cure the default.

                 11             7.6     Releases

                 12                     7.6.1   Releases for All Creditors and Interested Parties Except the Settling

                 13      Plaintiffs {Mousse Dembele, Mohamed Kaba, Cresencio Sanchez and Ernest Williams).

                 14      From and after the Effective Date, the following releases shall become effective: by and

                 15      between the Debtor, on the one hand, and the holders of Claims with the exception of the

                 16      Settling Plaintiffs {Mousse Dembele, Mohamed Kaba, Cresencio Sanchez and Ernest Williams),

                 17      on the other hand, that to the fullest extent permissible under applicable law, as such law may be

                 18      extended or interpreted subsequent to the Effective Date; each such person that has held, holds pr

                 19      may hold a Claim, whether Allowed, terminated, transferred, or conveyed pursuant to this Plan,

                 20      Disallowed or is not entitled to receive any distribution pursuant to this Plan, in consideration for

                 21      the obligations of the Reorganized Debtor and other contracts, instruments, releases, agreements

                 22      or documents to be delivered in connection with this Pian, shall conclusively, absolutely,

                 23      unconditionally, irrevocably and forever, release and discharge the Debtor from any claim or

                 24      cause of action existing as of the Effective Date, including but not limited to, any claim or cause

                 25      of action, interest, right, or dispute, including but not limited to any claim or cause of action,

                 26      interest, right or dispute arising from, based on or relating to, in whole or in part, the subject

                 27      matter of or the transactions or events giving rise to the Settlement Agreement and in the act,

                 28      omission, occurrence or event in any matter relating to such subject matter, transaction or
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                  1      obligation. This release is intended to be as broad as possible, and shall include the Debtor's

                 2       officers, directors, managers, attorneys, accountants, agents and employees.

                 3                      7.6,2 Releases for Settling Plaintiffs, Moussa Dembele, Mohamed Kaba,

                 4        Cresencio Sanchez and Ernest Williams.          As set forth in the Settlement Agreement and

                  5       Release of All Claim between each of the Settling Plaintiffs, on the one hand, and the Debtor

                 6        and Trucking, on the other hand (defined therein as the "Matheson Defendants"), the following

                  7       releases apply as to each of the Settling Plaintiffs: "As a material inducement to the Matheson

                  8       Defendants to enter into this Agreement Plaintiff, as a free and voluntary act, forever releases,

                  9       discharges and covenants not to sue MATHESON for any Claims of any kind whatsoever,

                10        which may have arisen on or prior to Plaintiff's execution of this Agreement, including but not

                11        limited to (1) Claims relating in any way. to Plaintiff's employment with MATHESON and/or

                 12       the employment opportunities that were provided and/or denied to Plaintiff,(2) Claims relating

                 13       in any way to the separation of Plaintiffs employment with MATHESON, (3) Plaintiff's

                 14       compensation by MATHESON,and (4) any other matter, cause or thing whatsoever which may

                 15       have occurred between Plaintiff and MATHESON on or prior to Plaintiffs execution of this

                 16       agreement."

                 17              7.7    Plan Injunction. From and after the Effective Date and except as provided in this

                 18      Plan and the Confirmation Order, all entities that have held, currently hold or may hold a Claim

                 19      or Equity Security Interest in the Debtor that is Allowed, terminated, transferred, or conveyed

                 20      pursuant to this Plan or Disallowed or is not entitled to receive any distribution pursuant to this

                 21      Plan, are permanently enjoined from taking any of the following actions on account of any such

                 22      claim or interest: (i) commencing or continuing in any manner any action or proceeding against

                 23       the Debtor or the Reorganized Debtor or any of their respective property; (ii) enforcing,

                 24       attaching, collecting or recovering in any manner any judgment, award, decree or order against

                 25       the Reorganized Debtor, or their respective property; (iii) creating, perfecting or enforcing any
                                                                                                                        of
                 26       lien or encumbrance against the Reorganized Debtor's property; (iv) asserting a setoff, right

                 27       subrogation or recoupment of any kind against any debt, liability or obligation due to the
                                                                                                                    or
                 28       Reorganized Debtor or its property;(v) commencing or continuing any action, in any manner
    DAVIS GRAHAM &
      STUBBS LLP
   ATTORNEYS AT LAW                                                      23
50 WEST LIBERTY STREET
       SUITE 950
  RENO, NEVADA 89501
     (775)229•A219
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                   1     any place, that does not comply with or is inconsistent with the provisions of this Plan or the

                   2     Bankruptcy Code.

                   3            7.8    Supplemental Injunction Applicable Only to the Class 5 Stipulating

                  4      Judgment Creditors.          In order to preserve and promote the treatment of Creditors

                   S     contemplated by and provided for in the Plan, except as otherwise expressly provided in the Plan

                  ~I or the Confirmation Order, all persons and any person claiming by or through them, which have
                   7     held or asserted, which currently hold or asserC, or which may hold or assert any Claims or any

                   8     other causes of action, obligations, suits, judgments, damages, debts, rights, remedies, or

                   9     liabilities of any nature whatsoever, and all Equity Interests, or other rights of a Holder of an

                 10      equity security or other ownership interest, against any of the released parties based upon,

                 11      attributable to, arising out of or relating to any Claim against or Equity Interest in the Debtor,

                 12      whenever and wherever arising or asserted, whether sounding in tort, contract, warranty or any

                 13      other theory of law, equity or admiralty, shall be, and shall, as long as the Debtor is performing

                 14      under its Plan and completes its Plan, be deemed to be, stayed, restrained and enjoined from

                 15      taking any action against any Trucking for the purpose of directly or indirectly collecting,

                 16      recovering or receiving any payment or recovery with respect to any such Claims or other causes

                 17      of action, obligations, suits, judgments, damages, debts, rights remedies or liability, and all

                 18      Equity Interests or other rights of a holder of an equity security or other ownership interest,

                 19      arising prior to the Effective Date, including, but not limited to (i) commencing or continuing in

                 20      any manner any action or other proceeding, (ii) enforcing, attaching, collecting or recovering in

                 21      any manner any judgment, award, decree or order,(iii) creating, perfecting or enforcing any lien

                 22 ~, or encumbrance, (iv) asserting a setoff, right of subrogation or recoupment of any kind against
                 23 ' any debt, liability or obligation due to any Released Party, and (v) commencing or continuing
                 24      any action, in any manner, in any place that does not comply with or is inconsistent with the

                 25      terms of the Plan.

                 26             7.9     Exculpation. Through the Effective Date, the Plan Proponents, and their officers,

                 27      directors, managers, attorneys, accountants, consultants, agents and employees since the Petition

                 28      Date, including but not limited to any professionals employed by them pursuant to an order of
    DAVIS GRAHAM &
      STUBBS LL.P
   ATTORNEYS AT LAW
50 WEST LIBERTY STREET
                                                                         24
       SUITE 850
  RENO,NEVApA89507
     (776)229-4219
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                   1     the Court under Sections 327 and 1103 of the Bankruptcy Code, shall not incur any liability to

                  2~ the Debtor or any othex Creditor, Equity Security Interest or interest holder, and other parties in

                  3      interest in the Bankruptcy Case for any act or omission in connection with or arising out of the

                  4      Bankruptcy Case, including, without limitation, prosecuting confirmation of this Plan, the

                   5     administration ofthis Estate, the Plan or the property to be distributed under this Plan, except for

                  6      gross negligence or willful misconduct, and in all respects, such person will be entitled to rely on

                   7     the advice of counsel with respect to their duties and responsibilities with respect to the

                   8     Bankruptcy Case and this Plan.

                  9             7.10     In the event that any impaired Class entitled to vote is determined to have rejected

                 10      this Plan in accordance with Section 1126 of the Bankruptcy Code, the Plan Proponents may

                 11      invoke the provisions of Section 1129(b) of the Bankruptcy Code to satisfy the requirements for

                 12      confirmation of this Plan. The Plan Proponents reserve the right to modify this Plan to the

                 13      extent, if any, that confirmation pursuant to Section 1129(b) of the Bankruptcy Code requires

                 14      modification.

                 15             7.11     After the Effective Date, the Reorganized Debtor may object to Proofs of Claim.

                 16 '! Any such objections shall be filed and served not later than 90 days after the Effective Date;

                 17      provided, however,that such period may be extended by order of the Bankruptcy Court for good

                 18      cause shown.

                 19'            7.12     No Proof of Claim filed after the Bar Date shall be allowed, and all such Claims

                 20      are deemed disallowed and forever barred. No Creditor shall be permitted to amend any Proof of

                 21      Claim except to decrease the amount owed.

                 22             7.13     This Plan shall be binding upon, and inure to the benefit of the Debtor, the

                 23      Reorganized Debtor, Creditors, Equity Security Holders and their respective successors and

                 24      assigns.

                 25              7.14 Except to the extent the Bankruptcy Code or other federal law is applicable or as

                 26      provided in any contract, instrument, release or other agreement, the rights, duties and

                 27      obligations of Debtor and any other person arising under this Plan shall be governed by and

                 28      construed and enforced in accordance with the internal laws of the State of Nevada, without
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      STUBBS LLP
   ATTORNEYS AT LAW
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                  1      giving effect to Nevada's choice oflaw provisions.

                  2             7.15. In the event of a Default Under the Plan, the Supplemental Injunction will no

                  3      longer be of force and effect and. the Stipulating Judgment Creditors will be entitled to file the

                  4      Stipulated Judgment in the Colorado Court against Trucking and to enforce the Stipulated

                  5' Judgment in accordance with the Settlement Agreement.
                  6             8.        RETENTION OF JURISDICTION

                  7             The Bankruptcy Court shall retain jurisdiction for the following specific purposes:

                  8             8.1       For the purpose specified in Section 1142 of the Bankruptcy Cade;

                  9             8.2       The consideration of Clainns and such objections as may be filed to the Claims of

                 10      Creditors pursuant to Section 502 of the Bankruptcy Code, to decide or resolve any matter aver

                 11      which the Bankruptcy Court has jurisdiction pursuant to Section 505 of the Bankruptcy Code,

                 12      and to file and prosecute any claims of the estate or counterclaims against such Creditors as may

                 13      be permitted by law;

                 14             8.3       The fixing ofcompensation for the persons entitled thereto;

                 15             8.4       To hear and determine the amount of all encumbrances ox the recovexy of any

                 16      preferences, transfers, assets ox damages to which the Debtor's estate nnay be entitled under

                 l7      applicable provisions of the Bankruptcy Code or other federal, state, or local law;

                 18             8.5       To resolve any disputes regarding interpretation and enforcement of the Plan and

                 19      the Settlement Agreement;

                 20             8.6       To implement the provisions of the Plan and the Settlement Agreement, including

                 21      all provisions in the Plan which specify the retention of jurisdiction, and to make such further

                 22      orders as will aid in consummation of the Plan, including granting declaratory relief, issuing

                 23      injunctions, and ordering the transfers as set forth in the Plan after the Confirmation Date;

                 24              8,7      To adjudicate controversies regarding property of the Debtor's estate and

                 25      regarding ownership thereof, including adjudication of causes of action which constitute property

                 26      of the estate;

                 27              8.8      To modify this Plan in accordance with Section 1127 ofthe Bankruptcy Code;

                 28      ///
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      STU685 LLP
   ATTORNEYS AT LAW                                                       1~.~
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       SUITE 850
  RENO, NEVADA 89501
     (775)2284218
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                     1             8.9     To enter such orders as may be necessary or appropriate to implement or

                    2        consummate the provisions of this Plan and all contracts, instruments, releases and other

                    3        agreements or documents created in connection with this Plan, the Settlement Agreement, the

                    4        Disclosure Statement or the Confirmation Order; and

                    5              8.10    To enter a final decree and order closing the case.

                    6              9.      MODIFICATION OF PLAN.

                    7               The Plan Proponents may modify the Plan with regard to the treatment of any Creditor

                    8        class, in connection with any agreement or settlement with such Creditor class or in order to

                    9        comply with the requirements of the Code as established by the Court, provided such

                   10        modification does not materially. adversely affect any other class of Creditors.        Such

                   11        modifications may be reflected in the order confirming the plan of reorganization. Any other

                   12 '~ modification of the Plan shall be in accordance with Section 1.127 of the Code.
                   13 ,I            DATED this 23`d day of November,2015.

                   14
                                                                         DAVIS GRAHAM & STUBBS LLP
                   IS
                                                                          /s/ Cecilia Lee, Esq.
                   16
                                                                          CECTLTA LEE,ESQ.
                   17                                                     ELIZABETH HIGH,ESQ.

                   18                                                     HARTMAN & HARTMAN,LTD.

                   19                                                    /s/ Jeffrey L. Hartman, Esq.__
                                                                         JEFFREY L. HARTMAN,ESQ.
                   20
                                                                          DOWNEY BRAND LLP
                   21
                   22                                                    /s/ Sallie B. Armstron~q.
                                                                         SALLIE B. ARMSTRONG,ESQ.
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      STU88SLLP        ',.
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 SCHEDULE A TO PLAN
                                            Matheson Flight Extenders, Inc.
                                           Summary of Executory Contracts
                                                  Schedule A to Plan
                 Subject to approve ofthe Debtor's Motion to Assume Professional Services Agreement

    Contracting Party                   Description of Contract                            Cure Amount Due
                                                                                            on Confirmation

    Aviation G.S.E. America             Personal Property Rental Agreement                            $10,813.13
1
    120 Sylvan Avenue                   36 month rental. agreement
                                                                                                                   Case 15-50541-btb




    Suite 114                           Beginning date: June 3, 2014
    Englewood Cliffs, NJ 07632          1- 2014 JBT Tech Commander 30i loader(New).

    Core Transport Technologies LLC     Debtor is the Customer in Web Services                         $6,756.45
2
    6508 The Landings Dr.               Agreement and Addendum,for use of CORE
                                                                                                                   Doc 506




    Orlando, FL 32812                   Scanners and related accessories,to support
                                        Debtor's contract obligations with USPS.

3   Delta Airlines                       Airport Services Master Agreement dated
    1030 Delta Boulevard                 November 6,2014, Contract No. MA-2014-02487
    Atlanta, GA 30354                    Mail Handling Services Seattle Airport Annex
                                         December 1, 2014 to December 31,2017.

4   DHL                                  Road -Feeder service between Austin and San
    Attu: Christopher Hamilton           Antonio, Texas airports, November,2014 for 36
    9401 Cargo Avenue, Ste. A            months.
    Austin, TX 78719
                                                                                                                   Entered 12/04/15 14:32:03




5   DHL Express                          Ground Handling Agreements for Austin, Texas
    Attu: Shane Clark                    Boeing Field, Seattle, Portland, Oregon
    Sen. Mgr. OfUS Airside Operations    Cancellation on 30 days' notice.
    336 Wendell H.Ford Blvd.
    Erlanger, KY 41018
                                                                                                                   Page 29 of 35
     Contracting Party                  Descrption'of Contract                             Cure Amount Due
                                                                                            on Confirmation

6    Federal Express Corporation        Contract No.04-U740-013, Aircraft Ground
     i 148 First Avenue North           Handling Agreement, Billings, Montana
     Billings, MT 59101                 Originally dated June 3,2005; current e~ension
                                        expires August 31, 2016.

7    Federal Transport                  Material Handling Subcontract Great Fails,                  $13,452.09
     Attu: Doreen Whetham               Montana, airport, month to month.
     Po Box 3714
                                                                                                                 Case 15-50541-btb




     Great Falls, MT 59403

8    Landmark Aviation- Sioi~ Falls     Material Handling Subcontract, Sion Falls, South            $39,922.07
     Attu: Jack Browning                Dakota, airQort, month to month.
                                                                                                                 Doc 506




     35Q1 Aviation Avenue
     Sioux Falls, SD 57104-0197

9    Matheson Trucking, Inc.            Professional Services Agreement between
     100 Glen Carran Circle             Matheson Trucking, Inc. and Matheson Flight
     Sparks, NV 89431                   Extenders,Inc., dated September 17, 2014.

10   Non-Mail, Ocean &Rail               Consolidation Deconsolidation Facility Services        .
     Surface Transportation CMC          Agreement; Contract No. SBOCRA.-12-B-OOQ6
     United States Postal Service        Cincinnati, Ohio; Contract No. SBOCRA-I4-B-
     1200 Mercantile Blvd., Suite 109   .0001; Portland, Oregon; Contract No. SBOCRA-
     Largo, MD 20774-5389                13-B-0005; Seattle, Washington
                                         October 1,2015 to March 14,2017.
                                                                                                                 Entered 12/04/15 14:32:03
                                                                                                                 Page 30 of 35
     Contracting Party                   Description`of Contract '                          Cure Amount Due
                                                                                             on Confirmation

i1   Terminal Handling                   Terminal Handling Services Contract
     Air Transportation CMC              Contract No. SA-13-A-0009
     United States Postal Service        Albuquerque, New Mexico
     475 L`enfant Plaza, Sw,Room 1P650   Billings, Montana
     Washington,DC 20260-0650            Boise,Idaho
                                         Charleston, West Virginia
                                         Cincinnati, Ohio
                                         Denver, Colorado
                                                                                                               Case 15-50541-btb




                                         Sioux Falls, South Dakota
                                         Spokane, Washington
                                         Great Fails, Montana
                                         Orlando, Florida
                                         Louisville, Kentucky
                                                                                                               Doc 506




                                         Seattle, Wasiungton
                                         Salt Lake City, Utah
                                         Tulsa, Oklahoma
                                         Tucson, Arizona
                                         May 31,2014 to June 1, 2018, Opt.2 year
                                         Extension,terminable on 60 days' notice by USPS.

12   Ternunal Handling                   Terminal Handling Services Contract
     Air Transportation CMC              Contract No. SA-12-A-0002
     United States Postal Service        Anchorage, Alaska
     475 L'enfant Plaza, SW,Room 1P650   Las Vegas, Nevada
     Washington,DC 20260-Q650            Portland, Oregon
                                         Phoenix, Arizona
                                                                                                               Entered 12/04/15 14:32:03




                                         Sacramento, California
                                         September i, 20i2 to September 4,2014; optional
                                         2 year ext. September 6,2014 to September 2,20i6
                                         Terminable on 60 days' notice by USPS.
                                                                                                               Page 31 of 35
     Contrac~ing`Party           Description of Contract                             Cure:Amonnt Due
                                                                                      on Confirmation

13   United Parcel Service Co.   (Executory Contract)
     8203 National Turnpike      Transportation and Cargo Handling Services
     Louisville, KY 4Q214        Agreement
                                 Billings, Montana
                                 Charleston, West Virginia
                                 Denver, Colorado
                                 Salt Lake City, Utah
                                 Originally dated July 22,2008; current expiration
                                                                                                        Case 15-50541-btb




                                 is open ended, cancellation on 30 days' notice.
                                                                                                        Doc 506
                                                                                                        Entered 12/04/15 14:32:03
                                                                                                        Page 32 of 35
                                         Matheson Flight Extenders, Inc.
                                  Summary ofNon-Residential Real Property Leases
                                               Schedule A to Plan

    Location;                    Landlord                                  Term                      Cnre Amount`Due
                                                                                                      on Confirmation

1   6200 Boeing Ave.,Bldg B-2    Alaska Cargoport,LLC                      5/1/2014 - 4/30/2016
    Anchorage, AK 99502
                                                                                                                        Case 15-50541-btb




2   301 Eagle Mountain Road      Central West Virginia Airport Authority   6/1/2014 — 5/31/2018
    Charleston, WV 25311

3   3720 Spirit Dzive SE         City of Albuquerque, Aviation             12/11!2014 —12/11/2018
    Albuquerque, NM 87106        Department
                                                                                                                        Doc 506




4   2425 E. Landstreet Rd.#200   DCT Boggy Creek FL LP                     6/1/2014 —for 48 months
    Orlando, FL 32824

5   1400 Air Cargo Road          Federal Express Corporation               5/112014 — 4/30/2018
    Great Falls, MT 59404
                                 *This is characterized as a License
                                 Agreement for Matheson Flight
                                 Extenders to use internal space
                                 designated by FedEx Located on the
                                 pzemises Leased by FedEx pursuant to
                                 that certain lease agreement dated
                                 11/4/1999 between FedEx and Great
                                                                                                                        Entered 12/04/15 14:32:03




                                 Fa11s International Airport Authority.

6   1828 So. Perry               John Miller                               2/5/2015 — 2!28/2020
    Spokane, WA 99203

7   3b50 E. Post Road, Suite D   KTR Capital Partners                      5/1/2014 —10/31I2Q16
    Las Vegas,NV 89120
                                                                                                                        Page 33 of 35
     Location                      Landlord                ~ . `'           Term                        Cure Amount Due
                                                                                                         on Confirmation

8    4650 Air Freight Drive,       Louisville Regional Airport Authority    5/1/2015 — 4/30/2016
     Bays 2-7
     Louisville, Kentucky 40209-
     0129

9    2191 Overlook Drive           Pierce Leasing                           6/2/2014 — 611/2015                  $584.b4
     Billings, MT 59105
                                                                                                                           Case 15-50541-btb




10 7425 NE Airtrans Way,#100       Prolagis, L.P.                           10/1/2014 — 9/30/2016
   Portland, OR 97218
11   588 So. Gladiola Street       Thomas P. Nielson &Assoc.                49 months beginning
                                                                            10/1/2012 —10/31/2016
                                                                                                                           Doc 506




     Salt Lake City, UT 84104
                                   *Sublease from Matheson Postal, Inc.
                                   for Salt Lake City Shop

12 2590 So. 156th St               USPS                                     Initial term: 11/1/2009 —
   Seattle, WA 98168                                                        4/11/2010; with renewal
                                   *as a Sublessor of Sea-Tac Air Cargo     options
                                   Limited Partnership, Lessor, acting by
                                   and through its general partner,
                                   Transiplex, a Washington Corporation

13   Spokane Washington Airport    Spokane Airport Board                    Month to month
                                   3707 S. Godfrey Boulevard, Suite 107
                                   Spokane, WA 9924
                                                                                                                           Entered 12/04/15 14:32:03




                                   *Use Agreement for access to east side
                                   area of Airport

14 2600 E. Los Reales Road         Tucson Airport Authority                 6/1/2014 for 3 years
   Tucson, AZ 85706
                                                                                                                           Page 34 of 35
                           Landlord         Term   Cure Amount Due`
     Location`
                                                    on Confirmation

15   2161 N. Cargo Road,   Tulsa Airports
     Bldg. 2 Suite M
     Tulsa, OK 74115
                                                                          Case 15-50541-btb
                                                                          Doc 506
                                                                          Entered 12/04/15 14:32:03
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